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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

PAUL A. EKNES-TUCKER, et al.,            )
                                         )
      Plaintiffs,                        )
                                         )
v.                                       )             Case No. 2:22-cv-184-LCB
                                         )
KAY IVEY, et al.,                        )
                                         )
      Defendants.                        )

                                     ORDER

      A hearing on the United States’s motion to intervene (Doc. 58) is set for

Wednesday, May 4, 2022, at 1:15 p.m. CDT. The hearing will occur in Courtroom

2F of the Frank M. Johnson, Jr., United States Courthouse Complex. Since the State

of Alabama has no opposition to the United States’s motion to file excess pages, the

Court will grant that motion should the Court grant the United States’s motion to

intervene.

      DONE and ORDERED May 2, 2022.



                                   _________________________________
                                   LILES C. BURKE
                                   UNITED STATES DISTRICT JUDGE
